              Case 2:19-cv-00245-DB-PMW Document 4 Filed 05/17/19 Page 1 of 2

USCTACK
Bringhurst Process Service
60 E Claybourne Ave
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Salt Lake City, Utah 84115                                                                                      MAY 17 2019
(801) 561-4278
                                                                                                            U.S. DISTRICT CO!.t::·r
                                               UNITED STATES DISTRICT COURT
                                                     DISTRICT OF UTAH
     STEPHAN SCHURMANN ,                                         )
     Plaintiff(s)                                                )
                                                                 )
     vs.                                                         )
                                                                 )        PROOF OF SERVICE
     BRADLEY CARR AND JOHATHAN LINK                              )        Case No. 2:19-cv-00245   ·p \Z7
     TEDRICK AND JUBILIE ANQUI-TEDRICK (NON-                     )
     CUSTODIAL PARENT),                                          )
     Defendant(s)                                                )
                                                                 )
     Party to serve:                                             )


Process: COMPLAINT, EXHIBIT LETTERS 1-3
Court Date:

THE UNDERSIGNED PERSON HEREBY CERTIFIES:
1) I served the attached process, referenced therein.
 in the manner indicated below
2) I was at the time of service over the age of 18 years.
3) I am not a party to this action.

Party To Serve: Jonathan Link Tedrick.

Date Served: 5-14-2019 9:20 Am
Address Of Service: 2200 S 4000 W , Salt Lake, Ut 84120 (poe)

I delivered a copy of this process to Jonathan Link Tedrick, in person.




I certify under criminal penalty of the State of Utah that the foregoing is true and correct.
Executed on 5-14-2019




SHA WNTEL PERCIVAL #375
Server




   SERVICE FEE: $ 90

                                                                                                                     Docket: 1761934
                                     Case 2:19-cv-00245-DB-PMW Document 4 Filed 05/17/19 Page 2 of 2


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Vashington, DC 20006                                                                                                                 U.S. POSTAGE PAID



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                                                               UNITED STATES DISTRICT COURT
                                                                     DISTRICT OF UTAH
                                                               351 SouthWestTemple, Rm.1.100
                                                               PROOF OF SERVICE Salt Lake City
                                                                         Utah 8410·!
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